            IN THE UNITED STATES BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

RE:                                                                )
                                                                   )          CHAPTER:               7
Dainon Tarquinius Sidney                                           )          CASE NO.:              16-05506
SSN: XXX-XX-7845                                                   )          JUDGE:                 HARRISON
605 Lakemeade Pointe                                               )
Old Hickory, TN 37138                                              )
                                                                   )
     DEBTOR.                                                       )


THE DEADLINE FOR FILING A TIMELY RESPONSE IS: February 13, 2017.
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: February 21, 2017 at 9:00 a.m. in Courtroom
3, Customs House, 701 Broadway, Nashville, TN 37203.
     NOTICE OF MOTION TO REOPEN CHAPTER 7 CASE FOR THE PURPOSE OF AMENDING STATEMENTS AND
           SCHEDULES AND FILING A MOTION TO VOID JUDICIAL LIEN OF THE BANK OF NASHVILLE

Counsel for Debtor has asked the court for the following relief: to reopen the Chapter 7 Case for the purpose of amending
schedules B and C of the original Chapter 7 petition and filing a motion to void judicial lien of the Bank of Nashville.


       YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion by
entering the attached order, or if you want the court to consider your views on the motion, then on or before the
response date stated above, you or your attorney must:

1.      File with the court your response or objection explaining your position. Please note: the Bankruptcy
        Court for the Middle District of Tennessee requires electronic filing. Any response or objection you
        wish to file must be submitted electronically. To file electronically, you or your attorney must go to the
        court website and follow the instructions at: <https://ecf.tnmb.uscourts.gov>.
        If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may also visit the
        Bankruptcy Court in person at: 701 Broadway, 1st Floor, Nashville, TN (Monday - Friday, 8:00 A.M. - 4:00 P.M.).

2.      Your response must state the deadline for filing responses, the date of the scheduled hearing and the motion to which you are
        responding.

        If a response is filed before the deadline stated above, the hearing will be held at the time and place
indicated above. THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check
whether a timely response has been filed by viewing the case on the court’s website at
<https://ecf.tnmb.uscourts.gov>.

       If you or your attorney does not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter the attached order granting that relief.

Date: January 23, 2017                                       Signature:     /s/ Alex Koval
                                                             Name:         Alex Koval
                                                             Address:      1222 16th Avenue South, Suite 12
                                                                           Nashville, TN 37212-2926




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      IN THE UNITED STATES BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF TENNESSEE


RE:                                                          )
                                                             )         CHAPTER:             7
Dainon Tarquinius Sidney                                     )         CASE NO.:            16-05506
SSN: XXX-XX-7845                                             )         JUDGE:               HARRISON
605 Lakemeade Pointe                                         )
Old Hickory, TN 37138                                        )
                                                             )
   DEBTOR.                                                   )



  MOTION TO REOPEN CHAPTER 7 CASE FOR THE PURPOSE OF AMENDING STATEMENTS
   AND SCHEDULES AND FILING A MOTION TO VOID JUDICIAL LIEN OF THE BANK OF
                                NASHVILLE


        COMES the Debtors, through counsel, Rothschild & Ausbrooks, PLLC, and pursuant to 11 U.S.C. §350(b)

and Fed. R. Bankr. P. 5010 moves to reopen his Chapter 7 case for the purpose of amending Schedules B and C of

the original petition and filing a motion to void judicial lien of the Bank of Nashville. In support of this Motion, the

Debtor would state the following:

        1.       The Debtor’s Chapter 7 case was filed on August 4, 2016, and a discharge was granted on

                 November 8, 2016.

        2.       The Debtor listed The Bank of Nashville in the amount of $88,445.00, as an unsecured creditor in

                 his schedules. Debtor was unaware of a judgment lien recorded in Davidson County, Tennessee.

        3.       The Debtor is seeking to reopen his Chapter 7 case in order to amend his Scheduled B and C and

                 proceed with a Motion to void the judicial lien of The Bank of Nashville.

        WHEREFORE, PREMISES CONSIDERED, the Debtor moves to reopen his Chapter 7 case for the

purpose of filing amended Scheduled B and C and a Motion to void the judicial lien of The Bank of Nashville.

Respectfully submitted,

/s/ Alex Koval
Alex Koval
ROTHSCHILD & AUSBROOKS, PLLC
Attorney for Debtor(s)
1222 16th Avenue South, Suite 12
Nashville, TN 37212-2926
(615) 242-3996 (telephone)
(615) 242-2003 (facsimile)
notice@rothschildbklaw.com



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                                         CERTIFICATE OF SERVICE

          I certify that on this the 23rd day of January, 2017, I served a copy of the foregoing in the following
manner:

Email by Electronic Case Noticing to:

Beth R. Derrick, Asst. U.S. Trustee
Michael Gigandet, Chapter 7 Trustee

By U.S. Postal Service, postage prepaid to:

The Debtor at the above referenced address and:

The Bank of Nashville
Attn: Officer
401 Church Street
Nashville, TN 37219

David M. Anthony
Bone, McAllester, Norton, PLLC
Counsel for The Bank of Nashville
Nashville City Center
511 Union Street, Suite
Nashville, TN 37219


/s/ Alex Koval
Alex Koval




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